                            Case 5:24-mc-80072-PCP Document 1-1 Filed 03/27/24 Page 1 of 13




                      1    Eugene Kim, SBN: 221753
                           Email: eugene.kim@streamkim.com
                      2    STREAM KIM HICKS WRAGE & ALFARO, PC
                      3    3403 Tenth Street, Suite 700
                           Riverside, CA 92501
                      4    Telephone: (951) 783-9470
                      5    Facsimile: (951) 783-9475
                      6    Attorneys for Applicants
                      7    Min-ji Kim, Phạm Ngọc Hân,
                           Ji-hye Mo, Hae-rin Kang, Hye-in Lee
                      8
                      9
                                                  UNITED STATES DISTRICT COURT
                  10
                  11                           NORTHERN DISTRICT OF CALIFORNIA

                  12                                        SAN JOSE DIVISION
                  13
                  14       In re Ex Parte Application of                  ) CASE NO. 3:24-mc-80072
                                                                          )
                  15       Min-ji Kim, Phạm Ngọc Hân, Ji-hye              ) DECLARATION OF MUN HUI
                           Mo, Hae-rin Kang, Hye-in Lee                   ) KIM IN SUPPORT OF
                  16                                                      ) APPLICANTS’ EX PARTE
                  17               Applicants.                            ) APPLICATION FOR ORDER
                                                                          ) PURSUANT TO 28. U.S.C. § 1782
                  18                                                      ) AUTHORIZING DISCOVERY FOR
                                                                          ) USE IN FOREIGN PROCEEDINGS
                  19                                                      )
                                                                          )
                  20
                  21              I, Mun Hui Kim, declare that:
                  22               1.    I am more than 18 years of age, am competent to testify on the matters stated in
                  23 this declaration, and, except as may be otherwise stated in this declaration, have personal
                  24 knowledge of the matters stated in this declaration.
                  25               2.    I am an attorney licensed to practice law in the Republic of Korea. I am a Partner

                  26 at Yulchon LLC in Seoul, Republic of Korea.
                                   3.    I have reviewed the YouTube videos at issue and my opinion below is based upon
                  27
                          those documents or facts I have been made aware of.
                  28
                                                                1
STREAM|KIM                                          DECLARATION OF MUN HUI KIM
ATTORNEYS AT LAW
3403 TENTH STREET,
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                            Case 5:24-mc-80072-PCP Document 1-1 Filed 03/27/24 Page 2 of 13




                                   4.     This declaration is in support of Min-ji Kim’s, Phạm Ngọc Hân’s, Ji-hye Mo’s,
                      1
                          Hae-rin Kang’s, and Hye-in Lee’s (hereinafter collectively referred to as “Applicants” or
                      2
                          “NewJeans members”) Ex Parte Application for an Order Pursuant to 28 U.S.C. § 1782
                      3
                          Authorizing Discovery for Use in Foreign Proceedings (hereinafter “Application”).
                      4            5.     I was consulted by, and advised ADOR Co., Ltd. (hereinafter “ADOR”), a
                      5 corporation established under the laws of the Republic of Korea, about filing a criminal complaint
                      6 against an anonymous individual (hereinafter “Anonymous Individual”) who, using the YouTube
                      7 channel named 7th Grade in Middle School School (“중학교 7학년” in the original Korean
                      8 language) (hereinafter “YouTube Channel”) located at https://www.youtube.com/@Middle7,
                      9 published multiple YouTube videos containing false and/or defamatory statements about the
                  10 Applicants, members of K-pop idol group NewJeans under the management of ADOR.
                                   6.     Based upon the Statement of Information of Google LLC (hereinafter “Google”)
                  11
                          filed on September 7, 2023, the principal office of Google is located at 1600 Amphitheatre
                  12
                          Parkway, Mountain View, California 94043; attached as Exhibit 1 is a true and a correct copy of
                  13
                          the Statement of Information of Google filed on September 7, 2023 obtained from the California
                  14 Secretary of State.
                  15          7.      On March 19, 2024, the Applicants filed a criminal complaint against the
                  16 Anonymous Individual with the Seoul Yongsan Police Station (hereinafter “Criminal Matter”)
                  17 for defamation pursuant to Article 70(2) of the Act on Promotion of Information and
                  18 Communications Network Utilization and Information Protection and for the crime of insult
                  19 pursuant to Article 311 of the Korean Criminal Act.
                                   8.     I am the attorney of record of the Applicants in the Criminal Matter.
                  20
                                   9.     Article 70(2) of the Act on Promotion of Information and Communications
                  21
                          Network Utilization and Information Protection (“정보통신망 이용촉진 및 정보보호 등에 관한
                  22
                          법률” in the original Korean language) provides: 1
                  23
                  24                A person who commits defamation of another person by disclosing a false fact
                  25                to the public through an information and communications network purposely
                  26
                  27       1
                               English translation provided by Korea Legislation Research Institute available at
                               https://www.law.go.kr/LSW/lsInfoP.do?lsiSeq=176679&viewCls=engLsInfoR&urlMode=engLsInfoR&chrCls
                  28           Cd=010203#EJ70:0.
                                                                 2
STREAM|KIM                                           DECLARATION OF MUN HUI KIM
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                                        to disparage his or her reputation shall be punished by imprisonment with
                      1
                                        labor for up to seven years, by suspension of qualification for up to ten years,
                      2
                                        or by fine not exceeding 50 million won.
                      3
                                    10.       Article 311 of the Korean Criminal Act (“형법” in the original Korean language)
                      4
                          provides: 2
                      5
                      6                 A person who publicly insults another shall be punished by imprisonment with
                      7                 or without labor for not more than one year or by a fine not exceeding two

                      8                 million won.

                      9             11.       The Applicants have been unable to fully prosecute the Criminal Matter because
                  10 the true identity of the Anonymous Individual is unknown.
                  11                12.       Through discovery, the Applicants are seeking personal identifying information

                  12 (hereinafter “PII”) of the Anonymous Individual in order to identify the true identity of the
                          Anonymous Individual to proceed with the Criminal Matter.
                  13
                                    13.       Based on my experience as an attorney licensed to practice law in the Republic of
                  14
                          Korea, it is my opinion that the Applicants will not be able to proceed with the Criminal Matter
                  15
                          without the true identity of the Anonymous Individual.
                  16                14.       Through its US counsel, ADOR has attempted to obtain the PII from Google LLC
                  17 by sending a letter via registered mail and e-mail on March 18, 2024; attached as Exhibit 2 is a
                  18 true and correct copy of the letter that ADOR’s US counsel sent to Google LLC. ADOR’s US
                  19 counsel received an automated response from Google LLC on the same day; attached as Exhibit 3
                  20 is a true and correct copy of the automated email that ADOR’s US counsel received on March 18,
                  21 2024.
                                    15.       Google is not, and will not be, a party or participant to the Criminal Matter and
                  22
                          the information or documents sought through discovery is or are held by Google in the United
                  23
                          States, and therefore, the information or documents sought through discovery are outside the reach
                  24
                          of the jurisdiction of a court in the Republic of Korea.
                  25                16.       Based upon my experience as an attorney licensed to practice law in the Republic
                  26
                  27       2
                               English translation provided by Korea Legislation Research Institute available at
                               https://www.law.go.kr/LSW/engLsSc.do?section=&menuId=1&subMenuId=21&tabMenuId=117&eventGubun
                  28           =060101&query=%ED%98%95%EB%B2%95#.
                                                                     3
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                            Case 5:24-mc-80072-PCP Document 1-1 Filed 03/27/24 Page 4 of 13




                          of Korea, I am not aware of any restrictions imposed by, or any policies under, the laws of the
                      1
                          Republic of Korea limiting United States federal court judicial assistance for the purposes
                      2
                          described herein or in the Application.
                      3
                                   17.     Based upon my experience as an attorney licensed to practice law in the Republic
                      4 of Korea, courts of the Republic of Korea are receptive to assistance in discovery by United States
                      5 federal courts, including discovery of PII of individuals publishing anonymous online statements.
                      6            18.     The Applicants are not attempting to circumvent any foreign proof-gathering
                      7 restrictions or other policies of the Republic of Korea or the United States of America.
                      8            19.     The Applicants are seeking information concerning the Google Ads account, the

                      9 Google AdSense account, or any other accounts that are linked to the Google account that the
                          Anonymous Individual uses to log in to YouTube with, because based upon my experience, even
                  10
                          where a person has not indicated their true PII in their Google account, they may have indicated
                  11
                          their true PII in their Google Ads account, Google AdSense account, or other accounts that they
                  12
                          login to using their Google account.
                  13               20.     The reasons that the access log (dates, times, internet protocol (hereinafter “IP”)
                  14 addresses, and port numbers) of the Anonymous Individual’s Google account (hereinafter the
                  15 “Recent Access Log”) is necessary, in addition to other PII, to identify the Anonymous Individual
                  16 are:
                  17                        (a)     When an individual, the Anonymous Individual in this case, accesses the
                                    internet to access YouTube, the individual’s Google account, or other Google services,
                  18
                                    the person’s electronic device (e.g., laptop or smartphone) initially communicates with
                  19
                                    an ISP. 3 Subsequently, the ISP communicates with a company providing online services
                  20
                                    (hereinafter the “Online Service Provider”), in our case Google which maintains the
                  21                servers upon which the YouTube Videos were published, whereby the individual is able
                  22                to access YouTube or Google account.
                  23                        (b)     In each communication, information such as an IP address, a port number,
                  24                and a time stamp (the time when the specific communication occurred), may have been
                  25                recorded, which records are commonly known as an “access log.”

                  26                        (c)     The ISP assigns an IP address and a port number to the individual when

                  27
                           3
                               ISP means Internet Service Provider, and is an entity that provides internet access services to users, and
                  28           examples of ISPs in the United States are AT&T and Verizon.
                                                                    4
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                          Case 5:24-mc-80072-PCP Document 1-1 Filed 03/27/24 Page 5 of 13




                                providing the individual with internet access, and therefore, the ISP is able to identify
                      1
                                the individual using the access log because it has a record of to whom it assigned a
                      2
                                certain IP address and port number at a certain time.
                      3
                                      (d)    The ISP may assign a different IP address and port number every time that
                      4         an individual accesses the internet, and therefore, in order to identify an individual by
                      5         using an IP address and a port number, the time and the date that the person was
                      6         accessing the internet using the specific IP address and port number is necessary.
                      7               (e)    In layman’s terms, an IP address is the street address of the individual,

                      8         while the port number is the room number.
                                      (f)    Initially, a victim of an unlawful act on the internet, such as the
                      9
                                Applicants, does not know the ISP of the wrongdoer, and therefore, the victim needs the
                  10
                                Online Service Provider to disclose the access log in its possession, and the Recent
                  11
                                Access Log sought by the subpoena is seeking this information from Google.
                  12
                                      (g)    By obtaining the IP address from the Online Service Provider, the victim
                  13            is able to identify the ISP used by the wrongdoer, because IP addresses are owned by
                  14            ISPs, and the IP addresses owned by an ISP is publicly available information.
                  15                  (h)    By identifying the ISP used by the wrongdoer, the victim can provide the
                  16            access log (the IP address, the port number, and the timestamp) to the ISP and request

                  17            information such as the name and the address of the wrongdoer from the ISP to identify
                                the wrongdoer in order to serve the wrongdoer with legal process.
                  18
                                      (i)    In many cases, the Online Service Provider does not have accurate PII that
                  19
                                is sufficient to identify the true identity of the wrongdoer because the Online Service
                  20
                                Provider does not require the wrongdoer to record his or her true name, address, e-mail
                  21            address, telephone number, or any other PII, which information must each be
                  22            voluntarily provided by the wrongdoer.
                  23                  (j)    Where the wrongdoer created the Google account to damage the
                  24            reputation of the victim, most of the information obtained about the Google account
                  25            may be fictitious because the PII is voluntary.

                  26                  (k)    Therefore, in many cases, the access log obtained from the Online Service
                                Provider is the information that will allow the victim to identify the true identity of the
                  27
                                wrongdoer.
                  28
                                                             5
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                            Case 5:24-mc-80072-PCP Document 1-1 Filed 03/27/24 Page 6 of 13




                                          (l)     Ideally, if the Online Service Provider keeps a complete access log
                      1
                                    indefinitely, a victim can more readily identify the wrongdoer.
                      2
                                          (m)     However, in practice, a sufficient access log is not available because (i)
                      3
                                    the Online Service Provider does not record a complete access log for all
                      4             communications, (ii) the Online Service Provider only keeps the access log for a short
                      5             period of time (usually for three to six months); or, (iii) a wrongdoer can use special
                      6             anonymization computer programs to prevent the victim from identifying the wrongdoer
                      7             through the use of the access log.

                      8                   (n)     Because the access log is deleted by the Online Service Provider after
                                    several months, the more recent access log is critical.
                      9
                                          (o)     The wrongdoer may be accessing the internet and the Online Service
                  10
                                    Provider using the anonymization computer program at times, but may have the
                  11
                                    program off at other times.
                  12
                                          (p)     For the foregoing reasons, the more recent access log for a reasonable
                  13                period of time is necessary because (i) the Online Service Provider may have not
                  14                recorded a complete access log if discovery is limited to a short period of time, (ii) the
                  15                older access log has likely been deleted, or (iii) there is a possibility that the wrongdoer
                  16                may have had his or her anonymization computer program turned off.

                  17                      (q)     If discovery is allowed only for a short period of time, and for only the
                                    older access log, for the foregoing reasons, it will be less likely that the victim will be
                  18
                                    able to obtain information sufficient to identify the true identity of the wrongdoer.
                  19
                                          (r)     Therefore, for the foregoing reasons, it is reasonable to allow discovery of
                  20
                                    the recent access log, and to not limit discovery to the period at or about the time that
                  21                the unlawful statement was published.
                  22               21.    In order for the Applicants to identify the Anonymous Individual through the ISP
                  23 using an IP address and a port number, both the IP address and the corresponding port number and
                  24 timestamp is necessary.
                  25               22.    Without the corresponding timestamp, an ISP in the Republic of Korea will be

                  26 unable to pin-point the wrongdoer that was using the IP address at a certain point-in-time.
                                   23.    Additionally, where the port number is not disclosed, certain ISPs will be unable
                  27
                          to pin-point the wrongdoer that was using the IP address, even with a timestamp.
                  28
                                                                  6
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                            Case 5:24-mc-80072-PCP Document 1-1 Filed 03/27/24 Page 7 of 13




                                     24.   A port number is only used in conjunction with an IP address to identify the ISP
                      1
                          of the wrongdoer and is used by an ISP to pin-point who was using a certain IP address and a
                      2
                          certain corresponding port number on a specific date and time, and a port number does not intrude
                      3
                          upon a person’s privacy.
                      4              25.   A timestamp only shows when a person accessed their online account using a
                      5 specific IP address and port number, and does not disclose what the person was doing using their
                      6 online account, and therefore, discovery of a timestamp only minimally intrudes upon a person’s
                      7 privacy; the evidentiary value of a timestamp allowing the victim to identify the wrongdoer far
                      8 outweighs any privacy issues.
                                     26.   Finally, any PII (other than the Recent Access Log) registered, at any time, with
                      9
                          the wrongdoer’s Google account is necessary, because, based upon my experience as an attorney
                  10
                          licensed to practice law in the Republic of Korea, the Anonymous Individual may have not
                  11
                          planned to damage the Applicants until a time near to when the subject online statements were
                  12
                          made, and as such, it is more likely that the Anonymous Individual may have used his or her true
                  13 identity near to the time when the online statements were published.
                  14           27.     Recent PII is also relevant and necessary, because the Anonymous Individual may
                  15 not have changed PII that is not displayed publicly. The discovery of PII requested is not unduly
                  16 intrusive, because this information is narrowly tailored to discover the true identity of the
                  17 Anonymous Individual and is not seeking irrelevant information.
                                     28.   Based upon my experience, where an online account is used for a legitimate
                  18
                          purpose, PII is only changed occasionally, and because this information is stored by Google in the
                  19
                          ordinary course of its business, the burden placed upon Google in disclosing this information is
                  20
                          minimal.
                  21                 29.   Based upon the foregoing, the information and documents sought from Google is
                  22 highly relevant and crucial to the Applicants’ criminal case in the Republic of Korea and is
                  23 narrowly tailored and limited to the discovery of information necessary to identify the true identity
                  24 of the Anonymous Individual against whom the criminal case is filed.
                  25
                  26                 Pursuant to 28 U.S.C. § 1746(1), I declare under penalty of perjury under the laws of the

                  27 United States of America that the foregoing is true and correct.
                  28
                                                                  7
STREAM|KIM                                            DECLARATION OF MUN HUI KIM
ATTORNEYS AT LAW
3403 TENTH STREET,
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RIVERSIDE, CA 92501
    951-783-9470
Case 5:24-mc-80072-PCP Document 1-1 Filed 03/27/24 Page 8 of 13
                                      ExhibitDocument
                      Case 5:24-mc-80072-PCP 1        1-1 Filed 03/27/24 Page 9 of 13




                                                                                                                                    B2094-5690 09/07/2023 10:26 AM Received by California Secretary of State
                                                                                                              BA20231413505

                         STATE OF CALIFORNIA                                                          For Office Use Only
                         Office of the Secretary of State
                         STATEMENT OF INFORMATION                                                      -FILED-
                         LIMITED LIABILITY COMPANY
                         California Secretary of State                                        File No.: BA20231413505
                         1500 11th Street                                                     Date Filed: 9/7/2023
                         Sacramento, California 95814
                         (916) 653-3516



Entity Details
  Limited Liability Company Name                             GOOGLE LLC
  Entity No.                                                 201727810678
  Formed In                                                  DELAWARE
Street Address of Principal Office of LLC
  Principal Address                                          1600 AMPHITHEATRE PARKWAY
                                                             MOUNTAIN VIEW, CA 94043
Mailing Address of LLC
  Mailing Address                                            1600 AMPHITHEATRE PARKWAY
                                                             MOUNTAIN VIEW, CA 94043
  Attention                                                  Attn: Legal Dept.
Street Address of California Office of LLC
  Street Address of California Office                        1600 AMPHITHEATRE PARKWAY
                                                             MOUNTAIN VIEW, CA 94043
Manager(s) or Member(s)

                           Manager or Member Name                                Manager or Member Address

   XXVI Holdings Inc.                                        1600 Amphitheatre Parkway
                                                             Mountain View, CA 94043


Agent for Service of Process
  California Registered Corporate Agent (1505)               CORPORATION SERVICE COMPANY WHICH WILL DO
                                                             BUSINESS IN CALIFORNIA AS CSC - LAWYERS
                                                             INCORPORATING SERV
                                                             Registered Corporate 1505 Agent
Type of Business
  Type of Business                                           TECHNOLOGY COMPANY
Email Notifications
  Opt-in Email Notifications                                 Yes, I opt-in to receive entity notifications via email.
Chief Executive Officer (CEO)

                                   CEO Name                                            CEO Address

   Sundar Pichai                                             1600 Amphitheatre Parkway
                                                             Mountain View, CA 94043


Labor Judgment
  No Manager or Member, as further defined by California Corporations Code section 17702.09(a)(8), has an
  outstanding final judgment issued by the Division of Labor Standards Enforcement or a court of law, for which no
  appeal is pending, for the violation of any wage order or provision of the Labor Code.




                                                                                                                            Page 1 of 2
                                  ExhibitDocument
                  Case 5:24-mc-80072-PCP  1       1-1 Filed 03/27/24 Page 10 of 13




                                                                                                                                           B2094-5691 09/07/2023 10:26 AM Received by California Secretary of State
Electronic Signature

       By signing, I affirm under penalty of perjury that the information herein is true and correct and that I am authorized by
       California law to sign.


  Kenneth H. Yi                                                      09/07/2023
  Signature                                                          Date




                                                                                                                                   Page 2 of 2
                                          Exhibit 2
       Case 5:24-mc-80072-PCP Document 1-1 Filed 03/27/24 Page 11 of 13




                                                                                 March 18, 2024
VIA E-MAIL AND EXPRESS MAIL

Google LLC
Attn: Legal Department, Custodian of Records
1600 Amphitheatre Parkway
Mountain View, CA 94043
internationalcivil@google.com

Re:       Request for Identification of Anonymous YouTuber in connection with Korean
          Criminal Matter

Dear Google Legal Department:

     On behalf of our clients ADOR and members of NewJeans (“Client”), we are seeking
information for purposes of using it in a foreign criminal matter. Specifically, we ask for Google
LLC’s assistance to identify an anonymous YouTuber who has publicly defamed and/or made
false statements about members of K-pop idol group NewJeans.

     By way of background, an anonymous individual using the YouTube channel named 7th
Grade in Middle School (“중학교 7학년” in the original Korean language) 1 with
approximately 12,700 subscribers has uploaded around 33 defamatory videos regarding our
Client between September 10, 2022 and March 6, 2024. These videos have recorded over
13,800,000 views as of today. The false and/or defamatory statements made in the videos have
inflicted and continues to inflict significant reputational damage on our Client.

     As part of actively pursuing a criminal action against the anonymous individual in South
Korea, our Client must identify the anonymous individual in order to fully prosecute the case.
Our Client’s Korean counsel believes the anonymous individual has committed defamation
pursuant to Article 70(2) of the Act on Promotion of Information and Communications
Network Utilization and Information Protection and a crime of insult pursuant to Article 311
of the Korean Criminal Act.

    We ask for your assistance in identifying the following information (“Requested
Information”) to aid in the prosecution of this Korean criminal matter:
          1. Google account(s) and YouTube account(s) that are used to sign in to or that are
             registered to, linked to, or otherwise associated to the YouTube channel named 7th
             Grade in Middle School (“중학교 7학년” in the original Korean language) that is
             located at: https://www.youtube.com/@Middle7.
          2. The following information relating to the individual(s) owning or operating the
             Google account(s) and YouTube account(s) mentioned in (1) above:
                 a. Names
                 b. Address (including physical, billing and shipping address)
                 c. Email Address (including recovery email address)
                 d. Telephone Numbers (including recovery number



1
      This YouTube channel can be accessed at https://www.youtube.com/@Middle7
                                          Exhibit 2
      Case 5:24-mc-80072-PCP Document 1-1 Filed 03/27/24 Page 12 of 13
March 18, 2024
Request for Identification of Anonymous YouTuber in connection with Korean Criminal Matter
Page 2 of 2


     Please let us know by March 25, 2024, whether Google will voluntarily provide the
Requested Information. If we do not receive a positive response by this date, our Client will
file a Section 1782 discovery application in the Northern District of California to obtain
discovery from Google LLC.

    Should you have any questions or need further clarification, please contact me by email at
eugene.kim@streamkim.com.

Sincerely,


Eugene Kim
Stream Kim Hicks
Wrage and Alfaro, P.C.
1 (951) 783-9470
eugene.kim@streamkim.com
                                             Exhibit 3
         Case 5:24-mc-80072-PCP Document 1-1 Filed 03/27/24 Page 13 of 13


From:            lis-noreply@google.com
To:              Janet Velazquez
Subject:         [8-5601000035701] Autoresponse to IntlCiv
Date:            Monday, March 18, 2024 2:11:27 PM




             This is the first email you've received from this external
             sender.
             Do not click links or open attachments unless it is an email you expected to receive.



Hello,

Google does not respond to informal requests for non-public information about our users. The
information you are requesting, to the extent it exists, is subject to data protection laws.

In accordance with those laws, it is Google's policy to only provide subscriber information
pursuant to properly served, valid legal process.

To learn more about serving Google Ireland Limited or Google LLC with civil legal process
that requests user data, please see our help center article at
https://support.google.com/faqs/answer/6151275?hl=en.

If you are an attorney working on behalf of a Google user, please initially refer to the
resources identified above.  We will respond to any attorney letters in the order in which they
are received. Further reminder notices will not be necessary and may further delay our ability
to respond to your request.

Additionally, if your message relates to questions about Google products and policies, we are
generally unable to answer them and encourage you to visit our help pages at
http://support.google.com/ and read through the information available.

Our team also does not process, forward, or respond to requests for the removal of content
from Google’s services. To submit a removal request, please complete the online webform
available at https://support.google.com/legal. To follow-up on a previously submitted removal
request, or to add an attorney letter to your submission, please respond to the confirmation
email of the removal request, without changing the subject line.

Regards,

Google
Legal Investigations Support
